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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                              x
                                              :
MOHAMMED RAZZAK, et al.,                      :
                                              :
                       Plaintiffs,            :
                                              :
               v.                             :       Case No. 17-cv-4373 (DLC)
                                              :
JUNO USA, LP, et al.,                         :
                                              :
                       Defendants.            :
                                              x

                 RULE 7.1 DISCLOSURE STATEMENT OF DEFENDANTS
                GT FORGE, INC., JUNO USA, LP AND VULCAN CARS LLC

       In accordance with Rule 7.1 of the Federal Rules of Civil Procedure, defendants

GT Forge, Inc., Juno USA, LP, and Vulcan Cars LLC, by their undersigned counsel, state:

       Vulcan Cars LLC is a limited liability company that is a wholly owned subsidiary of

Juno USA, LP. Juno USA, LP is a limited partnership for which the general partner is GT Forge,

Inc., a wholly owned subsidiary of GT Gettaxi Ltd., which is in turn a privately held corporation.

Through a subsidiary, Volkswagenwerk AG, a publicly traded company, owns 10% or more of

the share capital of GT Gettaxi Ltd. on a fully diluted basis.

Dated: New York, New York                         DLA PIPER LLP (US)
       June 20, 2017

                                                  By: /s/John J. Clarke, Jr.
                                                         John J. Clarke, Jr.
                                                         john.clarke@dlapiper.com
                                                         Keara M. Gordon
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                                                  Attorneys for Defendants GT Forge, Inc.,
                                                  Juno USA, LP and Vulcan Cars LLC
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that he is one of the attorneys for defendants GT Forge, Inc.,
Juno USA, LP and Vulcan Cars LLC and that on June 20, 2017 he caused the foregoing Rule 7.1
certification to be filed with the Court’s ECF system, which will cause notice of its filing to be
served upon all counsel who have appeared in this action.


                                          /s/ John J. Clarke, Jr.
